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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                          DISTRICT COURT CASE NUMBER:
 IN RE JAMIE LYNN GALLIAN
                                                              8:22−cv−1454−ODW
                                            DEBTOR(S) BANKRUPTCY COURT CASE NUMBER:

                                                              8:21−cv−11710−ES
JAMIE LYNN GALLIAN
                                                          ADVERSARY CASE NUMBER:
                                        APPELLANT(S)
                                                              N/A
      v.

HOUSER BROS CO
                                          APPELLEE(S).              NOTICE REGARDING APPEAL
                                                                    FROM BANKRUPTCY COURT

      Because one of the parties has so requested, this appeal from the Bankruptcy Court will be heard in, and
determined by, the United States District Court, Central District of California. The District Court has assigned
to the appeal the case number shown above. Hereafter, this District Court case number must appear on all
documents filed in this appeal, along with the Bankruptcy Court case number(s) and adversary case number(s)
(if any) shown above.

      The appeal has been assigned to              United States District Judge Otis D. Wright, II          , whose
initials appear at the end of this District Court case number. Be advised that pursuant to Local Rules 7.1-1 and
83-1.3.1 and Local Bankruptcy Rule 2.1, parties are required (1) to file a certification of interested parties and
(2) to notify the Court of any cases previously filed with the District Court that appear to be related to this
bankruptcy appeal.
      Unless exempted by the Court’s local rules, all documents must be e-filed using the District Court’s
CM/ECF System. Unless otherwise ordered by the Court, pro se litigants shall continue to present all
documents to the Clerk for filing in paper format. Documents received by the Clerk from pro se litigants under
this rule will be scanned by the Clerk into the CM/ECF System.

     Each party must comply with all applicable rules of the Federal Rules of Bankruptcy Procedure. As
provided in said rules, within fourteen days after filing the notice of appeal, Appellant must file the following
with the Clerk of the Bankruptcy Court:

     A designation of record
     A statement of issues on appeal
     A notice regarding the ordering of transcripts

     If the Appellee desires to designate further portions of the record, Appellee must file in the Bankruptcy
Court within fourteen days after service of Appellant’s designation a supplemental designation of record,
supplemental statement of issues, and/or a notice regarding additional transcripts. Each counsel will include the
designated excerpts of the record and all transcripts previously ordered by said counsel as an appendix to his or
her brief(s).




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     Please note that neither party may include or make reference to any excerpts of record other than those
which have been properly and timely designated. The District Court, in the appeal, will review and consider
only those documents in the case file that the parties have designated and thereafter reproduced.

     Under Federal Rule of Bankruptcy Procedure 8010(a), the court reporter/recorder is required to file all
transcripts ordered by either side within 30 days of the order (with payment tendered in advance) unless an
extension has been granted.

     The failure of either party to comply with time requirements as stated in this notice and applicable
rules may result in the dismissal of the appeal or the right to oppose the appeal.

      After the designated record is complete, the Clerk of the Bankruptcy Court will transmit to the Clerk of the
District Court either the record for this appeal or notice that the record is available electronically. The Clerk of
the District Court will then issue a Notice Re: Bankruptcy Record Complete, which will constitute notice,
pursuant to Federal Rule of Bankruptcy Procedure 8010(b)(3), that the record has been received by the District
Court. The date of filing of this Notice Re: Bankruptcy Record Complete will be the starting date for the
calculation of all deadlines pursuant to Federal Rule of Bankruptcy Procedure 8018, and, if applicable, Federal
Rule of Bankruptcy Procedure 8016. Only the District Court may grant a request for an extension of the time
for filing briefs as set forth in those Rules. Any such request must be filed well in advance of the due date and
must specify good cause for the requested extension.

     Once briefing is complete, the Courtroom Deputy Clerk of the assigned District Judge will advise parties
of the date for oral argument, unless the District Judge determines that oral argument is not needed.




                                                         Clerk, U.S. District Court

August 10, 2022                                          By /s/ Geneva Hunt
Date                                                       Deputy Clerk




  CC: Bankruptcy Court Judge



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